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ER_ED BY ___ D.O.
IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNES¢§EU\_ \h m \|= 06

 

WESTERN DIVISION
THOW\S M. GOULD
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Wf\j L_“' l§\‘, fir
CLARK D. KING, )
)
Plaintiff, )
)
v. ) No. 03-2016-D/V
)
'I`IME WARNER COMMUNICATIONS; )
UNIVERSAL COLLECTIONS SYSTEMS; )
NICHOLSON, HACKEL & NICHOLSON )
LAW FIRM; and DOUGLAS NICHOLSON, )
)
Defendants. )

 

ORDER GRAN'I`ING DEFENDANTS’ MOTION TO
ENFORCE SETTLEMENT AGREEMENT (Dkt# 29)

 

Before the Cou;rt is a motion to enforce settlement agreement by all Defendants. For the
reasons set forth below, Defendants’ motion is GRANTED.

On February 22, 2005, all Defendants made an Offer of Judgment to Plaintiff, pursuant to
Rule 68 of the Federal Rules of Civil Procedure for the sum of $18,000.00. On March 4, 2005,
Plaintiff’s and Defendants’ counsel agreed to execute a settlement agreement Delivery of the
settlement check was tendered to Plaintiff, and the check contained “settlernent of all claims”
language on its face. A Release and Consent Order of Dismissal with Prejuclice were
contemporaneously submitted to Plaintiff at that time. Plaintiff’s counsel was instructed not to

endorse the settlement check if the settlement was not agreeable On March 30, 2005, Plaintiff

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with Rule 58 andfor 79(a) FRCF' on

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moved the Court to enter judgment in this matter. On or about March 31, 2005, Plaintiff and his
counsel endorsed and deposited the settlement check. On May 4, 2005, this Court entered judgment
To date, Plaintiff has not returned the Release or Consent Order of Dismissal with Prejudice
documents to Defendants.

Plaintiff contends that the 818,000.00 check represented a Rule 68 Offer of Judgment and
not settlement proceeds. Brock v. Scheuner Co;p., 841 F.2d 151 (6th Cir. 1988), provides that a
settlement agreement is enforceable even where the agreement has not been reduced to Writing, and
courts have the authority and equitable power to enforce these agreements M, 841 F.Zd at 154.
The Court heard arguments of counsel in open court on the matter. The Court finds that the language
“settlement of all claims” of the front of the check was clear and unambiguous, that the check
represented settlement proceeds By negotiating the check, Plaintiff accepted the funds as settlement
proceeds Accordingly, this Court vacates its May 4, 2005, entry of judgment in this matter and

dismisses the case based on the parties’ settlement agreement

IT rs so oRDERED this gi ""day ofJuiy, 2005,

 

NITED S'I`ATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:03-CV-020]6 was distributed by faX, mail, or direct printing on
July l5, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

